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Saudi Arabias triumphant week reclaims the
Wests embrace
By AYA BATRAWYSeptember 26, 2022




1 of 3
Yasir al-Rumayyan, the governor of Saudi Arabia's sovereign wealth fund,
known as the Public Investment Fund, speaks at an event organized by the
fund and the Future Investment Initiative Institute in New York on Thursday,
Sept. 22, 2022. Saudi Arabia appears to be leaving behind the stream of
negative coverage that the killing of Jamal Khashoggi elicited since 2018. The
kingdom is once again enthusiastically welcomed back into polite and
powerful society and it is no longer as frowned upon to seek Saudi
investments or accept their favor. (AP Photo/Aya Batrawy)


NEW YORK (AP)  Saudi Arabia appears to be leaving behind the stream of
negative coverage that the killing of Jamal Khashoggi elicited since 2018. The
kingdom is once again being enthusiastically welcomed back into polite and
powerful society, and it is no longer as frowned upon to seek Saudi
investments or accept their favor.
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Saudi Arabias busy week of triumphs included brokering a prisoner swap
between Ukraine and Russia, holding a highbrow summit on the sidelines of
the U.N. General Assembly, marking the countrys national day with pomp
and pageantry, hosting the German chancellor and discussing energy supply
with top White House officials.

The kingdom is able to draw focus back to Crown Prince Mohammed bin
Salmans ambitious rebranding of Saudi Arabia and his goals to build both the
worlds largest sovereign wealth fund and pull the kingdom up from the G-20
to the more exclusive G-7 nations representing the biggest economies.

                                  ADVERTISEMENT

Its a mission thats often characterized as waking up a sleeping giant. Except
its happening even as human rights reforms remain off the agenda.

As the crown prince embarks on sensitive social and economic reforms, hes
simultaneously overseen a far-reaching crackdown on dissent that his
supporters say is necessary to ensure stability during this period. Among those
detained or banned from leaving the country are womens rights activists,
moderate preachers, conservative clerics, economists and progressive writers.
Even top princes and Saudi billionaires have not been spared. Many were
rounded up and held in the capitals Ritz-Carlton in a purported anti-
corruption sweep that netted over a $100 billion in assets.


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The clampdown, however, drew its strongest international rebuke following
the killing of Khashoggi by Saudi agents inside the Saudi consulate in Istanbul
four years ago.

And just last month, staggeringly long prison terms were handed down against
two women for their Twitter and social media activity. A Saudi court
sentenced a woman to 45 years in prison in August for allegedly damaging the
country through her social media activity. It came on the heels of a 34-year-
long prison sentence for another Saudi woman convicted of spreading
rumors and retweeting dissidents. Both women were handed down the
unusually long sentences on appeal.

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The Associated Press asked Saudi Foreign Minister Prince Farhan bin Faisal
about these sentences. Those cases are still in process. They are not yet at the
final appeal, he said, adding that the cases lie with the judiciary, which he
said operates independently. He spoke at the exclusive Yale Club during an
event in New York this week. He would not discuss the cases further.

Saudi Arabias strength lies not only in its top position as the worlds biggest
oil exporter, but also as the home of Islams holiest site and its birthplace.

The princes efforts to shed the yoke of decades of ultraconservative Wahhabi
control over every aspect of life are popular among young Saudis. From movie
theaters and concerts, to women driving and curtailing the moralitys polices
authority, the face of Saudi Arabia is changing. The latter stands in stark
contrast to the protests in rival Irans cities this week over the death of a
woman in the custody of that countrys morality police.

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At the other end of these changes is a reorienting of Saudi Arabias identity
from a chiefly religious focus to one of cultural and national pride.

At a swanky daylong forum this week at one of New Yorks premier Upper East
Side addresses, the kingdoms $620 billion wealth fund drew some of the citys
Whos Who to mingle and network on the sidelines of the United Nations
annual gathering of world leaders. While the kingdom never stopped drawing
investors or forging partnerships in the years since Khashoggis death, or amid
its ongoing war in Yemen, those ties were less forward-facing among U.S.
elites.
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The Public Investment Fund has significant stakes in Uber, Lucid Motors, the
cruise operator Carnival, Live Nation, Nintendo, Microsoft and a range of
other companies. The aim of these investments is to grow Saudi Arabias oil
wealth and use it to establish world-class tourism, entertainment and luxury
industries in the country. In doing so, the kingdom is creating a resilient
economy as the world looks to a future powered by green energy rather than
fossil fuels.

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The PIFs biggest undertaking is Neom, a futuristic megaproject along the
kingdoms northwestern Red Sea coast that envisions flying cars and a 105
mile-long (170 kilometer) zero carbon emissions city thats entirely enclosed
and powered by Artificial Intelligence.

The crown prince oversees the PIF, but the man who runs its day-to-day
investments is Yasir al-Rumayyan. He spoke at the so-called Priority
Summit to a monied elite that included Jared Kushner, a former White
House advisor and Donald Trumps son-in-law. Kushner recently secured a $2
billion investment from the PIF to jump start his new private equity firm.

The fund is key to the 37-year-old princes race against time to create at least
1.8 million jobs for young Saudis coming of age and entering the workforce.

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Its not only the figures that we are looking at, but the quality of these jobs,
the quality of our offering to our society  and at the same time, making
money while were doing it, al-Rumayyan said.

The PIFs wealth is fueled by the kingdoms oil earnings. Al-Rumayyan is also
chairman of Saudi Aramco. The state-owned oil and gas company had a record
second-quarter this year with profits that topped $48 billion  a figure more
than Apple, Alphabet, Microsoft, Meta and Amazons same-quarter earnings
combined.

The summit, organized by the PIFs Future Investment Initiative Institute that
puts on the annual Davos in the Desert in Riyadh, drew more than just
people seeking opportunities and a morsel of Saudi Arabias offerings. It also
attracted intellectuals and artists  the kind of soft power that money cant
always buy.
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Despite a shift in tone in the West, the shadow of Khashoggis killing still
looms.

The crown prince was notably absent from Queen Elizabeth IIs funeral, which
drew royals from around the globe to London this month. Sources close to
Prince Mohammed said he would not attend the funeral, the optics of which
would have been a distraction. But they did say he would fly to London to offer
condolences to the new King Charles III. That never transpired.

And after the crown prince helped negotiate the prisoner exchange between
Russia and Ukraine, a move that drew international praise, the headline of the
New York Post read: White House thanks killer crown prince.

Fernando Javier Sulichin, an Argentine film producer whos collaborated on
projects with Oliver Stone, said he was drawn to the PIFs event because he
wanted to hear new ideas and brainstorm.

Instead of being cynical and just reading the newspapers, its like, whats
going on in the world?, he said, adding that none of the sessions and
discussions are edited by any editorial board. He likened it to sourcing water
from the river rather than the tap.

No longer pulled by the tide, the kingdom is riding its own wave.

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This story was first published on Sept. 24, 2022. It was updated on Sept. 26,
2022, to correct the name of the institute that organized the Priority
Summit. It is the Future Investment Initiative Institute, not the Foreign
Investment Initiative Institute.

___

Aya Batrawy, an AP journalist based in Dubai, is on assignment covering the
U.N. General Assembly. Follow her on Twitter
at http://twitter.com/ayaelb and for more AP coverage of the U.N. General
Assembly, visit https://apnews.com/hub/united-nations-general-assembly
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           16      Bryson DeChambeau, and Peter Uihlein
           17                             IN THE UNITED STATES DISTRICT COURT
                                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
           18
                                                    SAN JOSE DIVISION
           19
                 PHIL MICKELSON, TALOR GOOCH,                               CASE NO. 5:22-cv-04486
           20    HUDSON SWAFFORD, MATT JONES,
                 BRYSON DECHAMBEAU, IAN POULTER,                            LIV GOLF’S RESPONSES AND
           21    PETER UIHLEIN, and LIV GOLF INC.,                          OBJECTIONS TO PGA TOUR’S FIRST SET
                                                                            OF REQUESTS FOR PRODUCTION OF
           22                           Plaintiffs,                         DOCUMENTS

           23           v.                                                  DATE FILED: AUG. 3, 2022

           24    PGA TOUR, INC.,                                            TRIAL DATE: JAN. 8, 2024

           25                           Defendant.

           26           Pursuant to the Federal Rules of Civil Procedure 26 and 34, Plaintiff LIV Golf Inc. (“LIV Golf”
           27    or “Plaintiff”), by and through its undersigned attorneys, hereby responds and objects to the PGA Tour
           28                                                           1
Gibson, Dunn &      LIV GOLF’S RESPONSES AND OBJECTIONS TO PGA TOUR’S FIRST SET OF REQUESTS FOR
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             1   Inc.’s (“PGA Tour” or “Defendant”) First Set of Requests for Production of Documents to Plaintiff

             2   LIV Golf, Inc., including, without limitation, the document requests, Definitions, and Instructions

             3   contained therein (the “Requests”), served by Defendant on August 31, 2022.

             4                                      PRELIMINARY STATEMENT

             5          1.      Plaintiff’s responses to the Requests are made to the best of its current knowledge,

             6   information, and belief, and subject to the objections described herein. Plaintiff reserves the right to

             7   rely on subsequently discovered information or documents to supplement or amend any of its responses

             8   should future investigation indicate that such supplementation or amendment is necessary. Plaintiff

             9   also reserves the right to supplement its responses and objections to assert any additional objections

           10    that may be deemed necessary or appropriate in light of any new facts, further review of documents,

           11    meet and confer conferences, or motions filed in this action.

           12           2.      Plaintiff’s responses to the Requests are confidential and made solely for the purpose of

           13    and in relation to this action. Each response is given subject to all appropriate objections, and Plaintiff

           14    does not waive any objections concerning relevance, privilege, competency, materiality, proprietary,

           15    foundation, prejudice, authenticity, or admissibility of any document or response, for any purpose and

           16    at any time. All objections are reserved and may be interposed at any time.

           17           3.      Plaintiff’s responses are based on its understanding that Defendant seeks only

           18    information that is within Plaintiff’s possession, custody, and control.

           19           4.      Plaintiff incorporates by reference each and every General Objection set forth into each

           20    and every Specific Response and Objection. From time to time, a Specific Response and Objection

           21    may repeat a General Objection. The failure to include any General Objection in any Specific Response

           22    and Objection shall not be interpreted as a waiver of any General Objection to that response.

           23           5.      Plaintiff’s objections to a particular Request for Production shall not be interpreted as

           24    implying that responsive information exists or as acknowledging that the Request for Production is

           25    appropriate as part of discovery in this action. Nothing contained in these Responses and Objections

           26    or provided in response to the Requests consists of, or should be construed as, an admission relating to

           27    the accuracy, relevance, existence, or nonexistence of any alleged facts or information referenced in

           28    any Request.
                                                                     2
Gibson, Dunn &      LIV GOLF’S RESPONSES AND OBJECTIONS TO PGA TOUR’S FIRST SET OF REQUESTS FOR
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             1                                         GENERAL OBJECTIONS

             2          The following General Objections apply to each of Defendant’s Definitions, Instructions, and

             3   Requests for Production; are incorporated by reference into each individual response and objection;

             4   and shall have the same force and effect as if fully set forth in the individual responses and objections

             5   to each Request for Production.

             6          6.      Plaintiff generally objects to the Requests (including the Definitions and Instructions)

             7   on the grounds and to the extent that they purport to impose obligations beyond those imposed or

             8   authorized by the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local Rules of

             9   the Northern District of California, any other applicable federal or state law, and any agreements

           10    between the parties. Plaintiff will construe and respond to the Requests (including the Definitions and

           11    Instructions) in accordance with the requirements of the Federal Rules of Civil Procedure and other

           12    applicable rules or laws.

           13           7.      Plaintiff generally objects to the Requests to the extent that they seek documents and

           14    information that are unrelated and irrelevant to the claims in, or defenses to, this litigation and

           15    disproportionate to the needs of the case, or are of such marginal relevance that their probative value

           16    is outweighed by the burden imposed on Plaintiff in having to search for and provide such documents

           17    or information.

           18           8.      Plaintiff generally objects to the Requests on the grounds and to the extent that they

           19    seek the production of any information or documents protected by the attorney-client privilege, the

           20    work-product doctrine, the common interest doctrine, Federal Rule of Evidence 502, or by any other

           21    applicable privilege, rule, doctrine, immunity or the laws, regulations, or policies of other countries,

           22    and Plaintiff and its counsel hereby assert such privileges and immunities. Nothing in Plaintiff’s

           23    objections and responses waives any rights under such privileges, and Plaintiff reserves the right to

           24    assert those rights over any information that may be provided in response to the Requests. Inadvertent

           25    production of any information or documents that are privileged or otherwise immune from discovery

           26    shall not constitute a waiver of any privilege or of any other ground for objecting to the discovery with

           27    respect to such information or documents or the subject matter thereof, or the right of Plaintiff to object

           28    to the use of any such information or documents or the subject matter thereof during these or any other
                                                                   3
Gibson, Dunn &      LIV GOLF’S RESPONSES AND OBJECTIONS TO PGA TOUR’S FIRST SET OF REQUESTS FOR
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             1   proceedings. The production of a privileged or work-product-protected document, whether inadvertent

             2   or otherwise, is not a waiver of privilege or protection from discovery in this case or in any other federal

             3   or state proceeding to the fullest extent of Federal Rule of Evidence sections 502(d) and (e). For

             4   example, the production of privileged or work-product-protected documents in this case as part of a

             5   mass production is not itself a waiver in this case or in any other federal or state proceeding.

             6           9.      Plaintiff generally objects to the Requests to the extent that they seek proprietary or

             7   other confidential information, particularly to the extent they seek third party confidential information.

             8   To the extent any proprietary or confidential information, trade secret, or other sensitive or protected

             9   business information is non-privileged and responsive to the Requests and not otherwise objectionable,

           10    Plaintiff will produce such information in accordance with the Stipulated Protective Order entered in

           11    this litigation, as well as the ESI Protocol entered in this litigation, and such other procedures as the

           12    parties or Court may establish to protect sensitive or confidential information.

           13            10.     Plaintiff generally objects to the Requests on the grounds and to the extent that

           14    production of such documents demanded therein would violate the rights of privacy of third parties

           15    under California law or other applicable laws of any relevant jurisdiction, or that such production

           16    otherwise is prohibited by law, or is subject to legal requirements for notification of third parties.

           17            11.     Plaintiff generally objects to the Requests to the extent that they use words and phrases

           18    that are not defined in an understandable manner. Plaintiff will interpret the terms and phrases used in

           19    those requests as those terms and phrases are understood to Plaintiff.

           20            12.     Plaintiff generally objects to the Requests as vague, ambiguous, overly broad, and/or

           21    unduly burdensome, including to the extent that they call for the production of “all” or “any” documents

           22    concerning the subject matters referenced therein. Plaintiff will undertake a reasonable search of the

           23    materials of data sources and custodians known or reasonably likely to have non-duplicative documents

           24    responsive to the Requests for Production.

           25            13.     Plaintiff generally objects to the Requests to the extent they call for the production of

           26    documents “related to” the subject matters referenced therein as unduly broad, imprecisely written, and

           27    irrelevant to the extent that it demands the production of any and all materials unrelated to the subject

           28    matter of this litigation.
                                                                      4
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             1          14.     Plaintiff objects to the definition of “you” and/or “your” as overly broad and unduly

             2   burdensome to the extent that it includes “LIV Golf Holdings Ltd . . . LIV Golf Investments Ltd, LIV

             3   Golf Ltd, and includes without limitation all predecessors (including the Premier Golf League or

             4   ‘PGL’), predecessors-in-interest, affiliates, parents, subsidiaries . . . consultants, attorneys, entities

             5   acting in joint venture, licensing agreements, or partnership relationship of each and others acting on

             6   behalf of each.” For example, the Premier Golf League is a separate entity from LIV Golf; it is not a

             7   “predecessor” of LIV Golf, and LIV Golf does not have custody or control of the Premier Golf

             8   League’s materials. In responding to these Requests, Plaintiff will construe the terms “LIV Golf,”

             9   “you,” and/or “your” to refer to LIV Golf Inc. and its employees.

           10           15.     Plaintiff objects to the instruction to produce “all” documents in its control or custody

           11    as unduly burdensome and unreasonable to the extent that it demands reviewing every document of

           12    every conceivable data source or custodian that could fall under the broad definition of “you” and

           13    “your.” Plaintiff will undertake a reasonable search of the materials of data sources and custodians

           14    known or reasonably likely to have non-duplicative documents responsive to the Requests for

           15    Production. Plaintiff is willing to confer with Defendant regarding the data sources, custodians, and

           16    search parameters to be employed for undertaking a reasonable search.

           17           16.     Plaintiff generally objects to the Requests to the extent they call for information that is

           18    publicly available or obtainable from sources that are as available to Defendant as they are to Plaintiff,

           19    or that are more convenient, less burdensome, or less expensive for Defendant to obtain itself. Plaintiff

           20    also objects to the Requests to the extent they seek documents or materials outside of Plaintiff’s

           21    possession, custody, or control, or to the extent they are inconsistent with federal law, international

           22    treaties or conventions, and/or conflict of law and comity principles by seeking documents or

           23    information located outside the United States.

           24           17.     Plaintiff generally objects to the Requests to the extent they seek to impose an obligation

           25    on Plaintiff to conduct anything beyond a diligent search and reasonable inquiry of readily accessible

           26    files, including electronic files, where responsive documents would reasonably be expected to be found.

           27           18.     Plaintiff generally objects to the Requests to the extent they do not identify the

           28    documents sought with reasonable particularity as required by Rule 34(b) of the Federal Rules of Civil
                                                                   5
Gibson, Dunn &      LIV GOLF’S RESPONSES AND OBJECTIONS TO PGA TOUR’S FIRST SET OF REQUESTS FOR
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             1   Procedure.

             2          19.     Plaintiff generally objects to the Requests to the extent they demand complete and final

             3   responses and document production within 30 days from the date of service. Discovery remains

             4   ongoing, and Plaintiff reserves the right to supplement its responses as appropriate under the

             5   Scheduling Order or the Federal Rules of Civil Procedure. Pursuant to the Court’s Scheduling Order,

             6   document production will proceed on a rolling basis.

             7          20.     Plaintiff generally objects to, and by responding does not admit, any factual

             8   characterizations or legal conclusions that the Requests assume or recite. Plaintiff further generally

             9   objects that by stating in these responses that Plaintiff will produce documents, Plaintiff does not intend

           10    to represent that any responsive documents actually exist, but rather that Plaintiff is making and will

           11    continue to make a reasonable, good faith search and attempt to ascertain whether responsive

           12    documents do, in fact, exist.

           13           21.     Plaintiff generally objects to the Requests (including the Definitions and Instructions)

           14    to produce all documents in “digitized form” to the extent responsive documents that do not exist in a

           15    digitized form in the ordinary course of business.

           16           22.     Plaintiff generally objects to the Requests (including the Definitions and Instructions)

           17    that documents be produced on a rolling basis “as soon as they have been located and processed for

           18    production” on the basis that it would be unduly burdensome and disorderly to produce each document

           19    “as soon as” it may become ready. Plaintiff will produce such information in accordance with the

           20    Stipulated Protective Order entered in this litigation, as well as the ESI Protocol entered in this

           21    litigation, and such other procedures as the parties or Court may establish or agree to.

           22           23.     Plaintiff generally objects to the Requests (including the Definitions and Instructions)

           23    that its document production be “organized and labeled to correspond with the categories in this request

           24    for production” on the basis that it is unduly burdensome and imposes an obligation beyond those

           25    imposed or authorized by the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the

           26    Local Rules of the Northern District of California, or other applicable federal or state law, and does not

           27    conform to any agreement between the parties. Plaintiff will not organize and label each individual

           28    document that is produced to reflect the Request(s) it is produced in response to.
                                                                   6
Gibson, Dunn &      LIV GOLF’S RESPONSES AND OBJECTIONS TO PGA TOUR’S FIRST SET OF REQUESTS FOR
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             1          24.     Plaintiff objects to the Requests (including the Definitions and Instructions) for

             2   technical specifications and metadata to be included with any electronic production to the extent such

             3   instructions require the production of data that is not kept in the ordinary course of business or does

             4   not conform with the Stipulated Protective Order entered in this litigation, as well as the ESI Protocol

             5   entered in this litigation, and such other procedures as the parties or Court may establish or agree to.

             6          25.     Plaintiff objects to the Requests (including the Definitions and Instructions) regarding

             7   a privilege log to the extent it purports to impose duties or requirements beyond those in the Federal

             8   Rules of Civil Procedure, or that does not conform with the Stipulated Protective Order or the ESI

             9   Protocol entered in this litigation. If Plaintiff withholds relevant materials based on an assertion of

           10    privilege, it will describe the nature of the withheld materials in a manner that will enable other parties

           11    to assess the privilege, pursuant to Federal Rule of Civil Procedure 26(b)(5), and in conformity with

           12    the Stipulated Protective Order and the ESI Protocol entered in this litigation.

           13         SPECIFIC RESPONSES AND OBJECTIONS TO REQUESTS FOR PRODUCTION

           14    REQUEST FOR PRODUCTION NO. 1:

           15           All communications with the PGA TOUR.

           16    RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

           17           Plaintiff incorporates by reference the foregoing General Objections. Plaintiff further objects

           18    to this Request on the grounds that it is vague, ambiguous, overbroad as written, and unduly

           19    burdensome. Plaintiff further objects to the extent that the Request seeks information that is not

           20    relevant to any party’s claim or defense or proportional to the needs of the case. Plaintiff further objects

           21    to this Request to the extent it would require the production of materials protected from disclosure by

           22    the attorney client privilege, the work product doctrine, the common interest privilege, and/or any other

           23    applicable privilege, doctrine, or protection. Plaintiff further objects to the Request on the grounds that

           24    the Request’s use of the term “all” renders the Request vague, ambiguous, and unduly broad and to the

           25    extent it calls for materials not relevant to any party’s claim or defense or proportional to the needs of

           26    the case. Plaintiff further objects to this Request to the extent it seeks materials that are more

           27    convenient, less burdensome, or less expensive for Defendant to obtain itself.

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Gibson, Dunn &      LIV GOLF’S RESPONSES AND OBJECTIONS TO PGA TOUR’S FIRST SET OF REQUESTS FOR
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             1   burdensome. Plaintiff further objects to the extent that the Request seeks information that is not

             2   relevant to any party’s claim or defense or proportional to the needs of the case. Plaintiff further objects

             3   to this Request to the extent it would require the production of materials protected from disclosure by

             4   the attorney client privilege, the work product doctrine, the common interest privilege, and/or any other

             5   applicable privilege, doctrine, or protection, particularly with respect to the phrase “related to

             6   complaints, criticism, or negative opinions.” Plaintiff further objects to the Request on the grounds

             7   that the Request’s use of the term “all” and the phrase “related to” render the Request vague,

             8   ambiguous, and unduly broad and to the extent it calls for materials not relevant to any party’s claim

             9   or defense or proportional to the needs of the case. Plaintiff further objects to the Request on the

           10    grounds that the Request’s use of the phrase “complaints, criticism, or negative opinions” is undefined

           11    and renders the Request vague, ambiguous, and unduly broad and to the extent it calls for materials not

           12    relevant to any party’s claim or defense or proportional to the needs of the case. Plaintiff further objects

           13    to the definition of “you” as overly broad and unduly burdensome. Plaintiff further objects to this

           14    Request to the extent that it seeks proprietary or other confidential information, particularly information

           15    confidential to third parties or that would violate the rights of privacy of third parties under California

           16    law or other applicable laws of any relevant jurisdiction.

           17           Subject to and without waiver of these objections, Plaintiff will conduct a reasonable search of

           18    an agreed-upon set of custodians’ files and will produce responsive, non-privileged documents

           19    pertaining to this Request to the extent they exist.

           20    REQUEST FOR PRODUCTION NO. 65:

           21           All communications with Saudi PIF.

           22    RESPONSE TO REQUEST FOR PRODUCTION NO. 65:

           23           Plaintiff incorporates by reference the foregoing General Objections. Plaintiff further objects

           24    to this Request on the grounds that it is vague, ambiguous, overbroad as written, and unduly

           25    burdensome. Plaintiff further objects to the extent that the Request seeks information that is not

           26    relevant to any party’s claim or defense or proportional to the needs of the case. Plaintiff further objects

           27    to this Request to the extent it would require the production of materials protected from disclosure by

           28    the attorney client privilege, the work product doctrine, the common interest privilege, and/or any other
                                                                    63
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             1   applicable privilege, doctrine, or protection. Plaintiff further objects to the Request on the grounds that

             2   the Request’s use of the term “all” renders the Request vague, ambiguous, and unduly broad and to the

             3   extent it calls for materials not relevant to any party’s claim or defense or proportional to the needs of

             4   the case. Plaintiff further objects to this Request to the extent that it seeks proprietary or other

             5   confidential information, particularly information confidential to third parties or that would violate the

             6   rights of privacy of third parties under California law or other applicable laws of any relevant

             7   jurisdiction.

             8           Subject to and without waiver of these objections, Plaintiff will conduct a reasonable search of

             9   an agreed-upon set of custodians’ files and will produce responsive, non-privileged documents

           10    pertaining to this Request to the extent they exist.

           11    REQUEST FOR PRODUCTION NO. 66:

           12            All agreements with Saudi PIF.

           13    RESPONSE TO REQUEST FOR PRODUCTION NO. 66:

           14            Plaintiff incorporates by reference the foregoing General Objections. Plaintiff further objects

           15    to this Request on the grounds that it is vague, ambiguous, overbroad as written, and unduly

           16    burdensome. Plaintiff further objects to the extent that the Request seeks information that is not

           17    relevant to any party’s claim or defense or proportional to the needs of the case. Plaintiff further objects

           18    to this Request to the extent it would require the production of materials protected from disclosure by

           19    the attorney client privilege, the work product doctrine, the common interest privilege, and/or any other

           20    applicable privilege, doctrine, or protection. Plaintiff further objects to the Request on the grounds that

           21    the Request’s use of the term “all” renders the Request vague, ambiguous, and unduly broad and to the

           22    extent it calls for materials not relevant to any party’s claim or defense or proportional to the needs of

           23    the case. Plaintiff further objects to this Request to the extent that it seeks proprietary or other

           24    confidential information, particularly information confidential to third parties or that would violate the

           25    rights of privacy of third parties under California law or other applicable laws of any relevant

           26    jurisdiction.

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             1           Subject to and without waiver of these objections, Plaintiff will conduct a reasonable search of

             2   an agreed-upon set of custodians’ files and will produce responsive, non-privileged documents

             3   pertaining to this Request to the extent they exist.

             4   REQUEST FOR PRODUCTION NO. 67:

             5           All documents and communications related to Saudi PIF.

             6   RESPONSE TO REQUEST FOR PRODUCTION NO. 67:

             7           Plaintiff incorporates by reference the foregoing General Objections. Plaintiff further objects

             8   to this Request on the grounds that it is vague, ambiguous, overbroad as written, and unduly

             9   burdensome. Plaintiff further objects to the extent that the Request seeks information that is not

           10    relevant to any party’s claim or defense or proportional to the needs of the case. Plaintiff further objects

           11    to this Request to the extent it would require the production of materials protected from disclosure by

           12    the attorney client privilege, the work product doctrine, the common interest privilege, and/or any other

           13    applicable privilege, doctrine, or protection, particularly with respect to the phrase “related to Saudi

           14    PIF.” Plaintiff further objects to the Request on the grounds that the Request’s use of the term “all”

           15    and the phrase “related to” render the Request vague, ambiguous, and unduly broad and to the extent

           16    it calls for materials not relevant to any party’s claim or defense or proportional to the needs of the

           17    case. Plaintiff further objects to this Request to the extent that it seeks proprietary or other confidential

           18    information, particularly information confidential to third parties or that would violate the rights of

           19    privacy of third parties under California law or other applicable laws of any relevant jurisdiction.

           20            Subject to and without waiver of these objections, Plaintiff will conduct a reasonable search of

           21    an agreed-upon set of custodians’ files and will produce responsive, non-privileged documents

           22    pertaining to this Request to the extent they exist.

           23    REQUEST FOR PRODUCTION NO. 68:

           24            All communications with Golf Saudi.

           25    RESPONSE TO REQUEST FOR PRODUCTION NO. 68:

           26            Plaintiff incorporates by reference the foregoing General Objections. Plaintiff further objects

           27    to this Request on the grounds that it is vague, ambiguous, overbroad as written, and unduly

           28    burdensome. Plaintiff further objects to the extent that the Request seeks information that is not
                                                                65
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             1   DATED: September 27, 2022                Respectfully submitted,
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                                                    CERTIFICATE OF SERVICE
             1
                        I HEREBY CERTIFY that on September 27, 2022, a copy of the foregoing was served to all
             2

             3   counsel of record using the email addresses they have registered with the CM/ECF system for the

             4   U.S. District Court for the Northern District of California.

             5

             6
                                                                         /s/ Scott Hvidt
             7                                                           Scott Hvidt

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     Saudi Arabia’s sovereign wealthfund is recruiting golfersfor a new super-league, illustrations by Miguel
     Porlan



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                                                                                      0:00/43:03



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     When a professional golfer wants to pass along a rumor, he’ll tell you that he

                    heard it “on the range.” The pro driving range conjures a serious place
     where serious men who abide by dress codes and honor systems tweak swing
     paths and spin rates, but this impression is incomplete. The range, the one
     location where everyone in the sport gathers, is also golf’s back room. Pre-round
     chat may concern course conditions, or who is sleeping with whose wife. Recently,

https://www.newyorker.eom/magazine/2022/10/24/will-the-saudis-and-donald-trump-save-golf-or-wreck-it?utm_source=nl&utm_brand=tny&utm_maili...   1/25
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       the range has been preoccupied by one topic. Since late last year, representatives
       of Saudi Arabia’s sovereign wealth fund, the multibillion-dollar investment
      vehicle for the kingdom, have been quietly recruiting players for a new super­
      league that they hope will rival the RG.A. Tour. They were calling it liv; the
      name derives from the Roman numeral fifty-four, to denote what they consider “a
      perfect score in golf,” and is pronounced as in “live large.” liv life was lucrative.
      The Saudis, who’d devised a twelve-team league, planned to spend two billion
      dollars, much of that on guarantees for players. “You’d hear numbers,” a longtime
      golf manager told me. “You’d hear a hundred million’ a lot.” Tiger Woods was
      said to have declined a package valued at seven to eight hundred million dollars.
      One line I heard often on the range this summer was that there are only three
      types of pro—those who’ve taken Saudi money, those who are thinking about
      taking Saudi money, and those who aren’t good enough to be offered Saudi
      money.


      Most outsiders first heard about liv in February, from Phil Mickelson, one of the
      RG.A. Tour’s biggest stars and most consistent critics. “They’re scary
      motherfuckers,” Mickelson said of the Saudis, in an interview with the golf writer
      Alan Shipnuck. He said he viewed liv as a vehicle for Saudi “sportswashing”—a
      front for the crown prince, Mohammed bin Salman, known as M.B.S., to launder
      his reputation. He also recognized it as useful leverage. He went on, “We know
      they killed Khashoggi and have a horrible record on human rights. They execute
     people over there for being gay. Knowing all of this, why would I even consider it?
     Because this is a once-in-a-lifetime opportunity to reshape how the PGA Tour
     operates.” Shipnuck published the story on a golf Web site during the Genesis
     Invitational, in Los Angeles. (Observers on the range noticed that, aU at once, the
     players stopped hitting and took out their phones to read.) Mickelson issued an
     apology to those he offended, to liv’s executives, and to his business partners. He
     began an indefinite leave from the Tour. A few golfers reached out to him and



https://www.newyorker.eom/magazine/2022/10/24/will-the-saudis-and-donald-trump-save-goif-or-wreck-it?utm_source=nl&utm_brancl=tny&utm_maili...   2/25
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     didn’t hear back. Reports surfaced that he’d accepted an offer from liv worth
     roughly two hundred million dollars.

     By August, when I arrived at East Lake Golf Club, in Atlanta, for the RG.A.
     Tour’s season-ending Tour Championship, professional golf had cleaved into
     warring camps. The dispute felt deeply personal, liv gobbled up players. Tour
     shunned defector. Defector sued Tour. Strange occurrences were interpreted for
     signs of rancor: players walked in other players’ lines on the green—accidental
     etiquette breach or intentional snubbing? Unusual penalties were levied against
     the Liv-leaning. I heard stories of liv types being blacklisted at clubs in Jupiter,
     Florida, or run out of St. Simons Island, in Georgia.

     Greg Norman, the former star player whom liv had hired to be its C.E.O., was
     particularly reviled. “He lived in Jupiter for thirty-five years,” a golfer told me, on
     the practice green. “He cannot join a golf club in our area. No one will have him.”
     It was suggested that defectors were hard up for cash. Mickelson was known,
     through Shipnuck’s reporting, to have gambling losses totalling tens of millions of
     dollars. “I think he was desperate,” one old hand confided. (Mickelson has
     acknowledged a gambling problem but says he is financially secure.)

     Generally, the players who cared most about prestige and legacy aligned with the
     RG.A. Tour. Its tournaments offered history and gravitas but no guaranteed
     income; you earned what you won in prize money. Golfers viewed it as the
     American-individualist ideal—“the purest form of meritocracy,” one golfer said.
     But the fault lines were idiosyncratic and difficult to untangle from old
     resentments. Whether a person stayed or left could be explained by some
     combination of political leaning, culture-war affiliation, sensitivity to peer
     pressure, and, most of all, naked self-dealing. “They don’t really care what the
     Saudis’ interest is,” the old hand told me. Sometimes it was a matter of a personal
     grudge. Did Woods stick with the Tour to protect his records or to snub Norman?
     They’d been at odds since at least 2006, when Woods moved to Jupiter without


https://www.newyorker,com/magazine/2022/10/24/will-the-sauclis-ancl-donald-trump-save-golf-or-wreck-it?utm_source=nl&utm_brand=tny&utm_maili...   3/25
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      giving Norman a heads-up. (Last year, Norman sold his Jupiter spread for fifty-
      five million dollars to Leslie Wexner, the mogul with ties to Teffrev Epstein.)

      By the Tour Championship, liv had poached enough players to be viable. It had
      signed a couple of stars (Dustin Johnson, reportedly for a hundred and twenty-
      five million dollars), some aging has-beens (Ian Poulter, twenty to thirty million),
      and a handful of lower-ranked players (Pat Perez, ten million, lump sum; “I got it
      all,” he told Golf Digest. “It’s fucking incredible”). Six more were rumored to be
      defecting after the tournament.

      The enormous sums had a way of revealing priorities even to the players
      themselves. Johnson told friends he had rebuffed liv offers until he couldn’t
      anymore. “A lot of guys say D.J. isn’t smart—he’s street smart,” the golfer Davis
      Love III said. “He told me, ‘I got to a number where I’m willing to take the
      consequences.’ ” One day at East Lake, while practicing his chipping. Max
      Homa, a firm Tour loyalist, said that his strategy was to avoid temptation entirely.
      “I got an e-mail,” he told me. He didn’t read it. “I don’t want to know. My wife
      told me if I got offered x she’d kill me if I said no.”

      Loyalties could be fluid. When I asked Rory Mcllroy, a prominent Tour loyalist,
     whether players had misled him about liv offers, he laughed and said, “Yes.
      Everyone’s turned quite cynical.” Homa added, “It’s like high school. People are
     lying to your face. ” Reliable intelligence was essential. One needed to know
     whom to trust, and, if the winds shifted, when to jump, and for how much. Billy
     Horschel, another golfer committed to the Tour, confided that he’d cultivated a
     network of caddy informants, but then most of them jumped to liv, too. The
     longtime manager told me, “A lot of these players are talking against liv publicly.
     Privately, they’re trying to get a deal.” He went on, “Players are being shunned,
     threatened, threatened to be shunned. I thought golf was supposed to be ‘We call
     infractions on each other, we have rules, we’re gentlemen.’ All of a sudden, they’ve
     turned into animals.”


https://www.ne\A/yorker.com/magazine/2022/10/24/will-the-saudis-and-donald-trump-save-golf-or-wreck-lt?utm_source=nl&utm_brand=tny&utm_malli...   4/25
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      Golf has always been about money and power, but in Saudi Arabia it literally can

           with the oil. The country’s first courses, and almost half its current ones,
     were “sand courses” improvised from the desert landscape by the Americans who
     helped build Aramco, the state petroleum giant. There was no grass, so golfers
     carried around little squares of artificial turf to hit from. A woman is said to have
     killed a sheep with an approach shot. (She had to pay the shepherd.) The
     ingenuity required just to complete a round was almost inspiring. Landmarks
     moved with the wind. Balls could be red. Greens were brown. Reading them was
     tough; camels stomped across. Putting, at least, didn’t require the turf mat. To
     maintain the requisite firmness and speed, the greens were slicked with oil.




https://www.newyorker.eom/magazlne/2022/10/24/wlll-the-saudls-and-donald-trump-save-golf-or-wreck-lt?utm_source=nl&utm_brand=tny&utm_malll...   5/25
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     LIV has been accused of“sportswashing”—being a vehiclefor Mohammed bin Kalman to launder his
     reputation. Saudi observers aren’t so sure.

     Today, Saudi golf operations are within the purview of Yasir Al-Rumayyan, the
     governor of the wealth fund and the chairman of Aramco. Rumayyan is polite,
     with wavy black hair and well-cut suits. In 2015, he was running a bank when
     M.B.S. offered him a job as an adviser. Later, M.B.S. named him head of the
     fund. Terms were not discussed. “You will do it,” M.B.S. said. An American



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     analyst who has dealt with Saudi officials told me that Rumayyan “is known as
     being sort of obsequious.”

     Under Rumayyan, the wealth fond, known as the Public Investment Fund,
     “became the vehicle for M.B.S.’s ambitions,” the analyst said. The fond controls
     some six hundred billion dollars, with investments in businesses, like Live Nation
     (half a billion), Uber (three and a half billion), and SoftBank’s Vision Fund 1
     (forty-five billion). Aramco provides a large part of the P.I.F.’s liquidity. The fond
     operates professionally, with internal structures and board votes, but personal
     preferences occasionally preside. Carla DiBello, a former reality-television
     producer and onetime friend of Kim Kardashian turned strategic consultant, has
     become a go-between. Rumayyan paid more than three hundred million dollars to
     acquire the English soccer club Newcastle, after meeting with her aboard M.B.S. s
     megayacht. Serene, in 2019. When the deal hit a snag, according to news reports,
     M.B.S. texted Boris Johnson personally: “We expect the English Premier League
     to reconsider.” It did, and Newcastle supporters, thrilled with its wealthy owners,
     celebrated outside the stadium wearing tea towels as kaffiyehs.

     In 2018, Rumayyan appointed a high-school friend, Majed A1 Sorour, to be the
     C.E.O. of the Saudi Golf Federation. Both men are golf obsessives. (Each claims
     a twelve handicap.) They began asserting their presence in the golf world. At the
     Masters one year, according to a person familiar with the conversations, they
     asked about renting Augusta Nationals clubhouse to host a meet and greet for top
     golfers. “You cant just do that,” the person said. Sorour, a big-biceped, aviator-
     wearing former soccer player, also began searching for investments. He told me
     recently that he’d approached the P.G.A. Tour’s commissioner. Jay Monahan.
     “What I said to him is I have a budget of over a billion dollars that I’d like to
     invest in the Tour,” he said. “I got no response.” (Tour officials deny that they
     were approached with such an offer.) Eventually, the RLE agreed to help bankroll
     the new Premier Golf League, which would have star-laden fields, three-round
     tournaments, shotgun starts (in which all the players start at the same time, on

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      different holes), and, most radically, a team format. When that fell through, in
      2021, the Saudis decided to go it alone. “It is, for all intents and purposes, the
      same format that we devised,” the P.G.L. s founder has said.

      The Saudis’ budget, however, was notably bigger. M.B.S. isn’t known to play golf
      (he prefers Call of Duty and pickup basketball), but a person who has
      communicated with him told me that an investment so large would typically
      require the board’s sign-off, and M.B.S. chairs the board.

      Liv’s first event was in London, in June. The purse was twenty-five million
      dollars, the largest ever in golf (liv’s championship, in late October, in Miami,
      will be double that.) The league held a launch party to introduce its teams.
      (“With one eye on younger fans. Fireballs has an anarchic, fun, and exciting
      identity which embodies golf at its wildest!” a presenter said.) Mickelson
      resurfaced, bearded, in a leather jacket, and looking, in his general gloominess,
     like a divorced dad. He played in the pro-am with Rumayyan. He was heard
      exclaiming, “Great shot. Your Excellency!”

     The next day, Ari Fleischer, George W. Bush’s former press secretary, moderated
     a press conference, having been hired by liv. The golf media, by then, were in
     open opposition to liv, which they viewed as the vanity project of a despot. The
     scene was exhilarating in its uncomfortableness—tanned men in funny pants
     answering moral and geopolitical questions for which they were clearly
     unprepared. (Earlier, Norman, when asked about the persecution of gay people in
     Saudi Arabia, responded, “I’m not sure whether I even have any gay friends, to be
     honest with you.”) A golfer was asked if he’d play in a tournament hosted by
     Vladimir Putin. “I don’t need to answer that,” he said. Another, Talor Gooch,
     said, “I’m not that smart. I try to hit a golf ball into a small hole.”

     Bafilingly, defenders insisted that liv was a kind of humanitarian organization.
     Mickelson said, “I have seen the good that the game of golf has done throughout
     history.” Examples were not given. Maybe the liv adherents were just adopting

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     golf’s ambient self-regard. It made for some strange utterances. Graeme
     McDowell lamented the regrettable “Khashoggi situation,” and then added, “If
     Saudi Arabia wanted to use the game of golf as a way for them to get to where
     they want to be ... I think we’re proud to help them on that journey.”



      T
     All he golf establishment, with its Traditions Unlike Any Other, its country-
              club morality clauses, its doffing of the caps before the shaking of the hands,
     was unaccustomed to such greed and dysfunction, or, rather, to their public
     display. A common cry was that liv was unfit for a gentleman’s game. This is a
     sport whose major victories are accompanied by gauzy paeans to character. The
     customs recall an era of a kinder, more genteel conservatism. It would be
     considered crude to point out that they’ve also been great for business.


     At East Lake, where you could visit the Comcast Business Pavilion before hitting
     up the corporate hospitality chalets, I spoke with Peter Cannone, the C.E.O. of
     Demand Science (“the official B2B sales pipeline generation sponsor of the PGA
     Tour”), who explained to me that advertising with the Tour was the ideal way to
     reach America’s C-suite. Tom Fanning, the C.E.O. of Southern Company, which
     sponsors the Tour Championship, told me, “Golf, more than probably any other
     sport, is notable for behaviors and values that transcend the sport—
     sportsmanship, character, charity, honesty, hard work.” Of liv, he went on, “I’m
     not sure what ideals they represent. We don’t have any interest in associating with
     them.” Depending on one’s vantage, this was either standard marketing or its own
     kind of reputation-laundering game. A sport that long excluded Blacks, Jews, and
     women, and with a standard share of avarice and misbehavior, had turned itself
     into the image of nobiUty—an ideal advertising vessel.

     The Tour itself began as a breakaway league. For decades, the touring pros,
     among them Jack Nicklaus and Arnold Palmer, split tournament revenue with the
     “club pros,” who gave lessons and sold merch. It was like having Aaron Judge hit
     against the hot-dog vender and then share the paycheck. In 1968, Nicklaus led a
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      rebellion. Palmer was on the fence—he made millions selling his brand of golf
      clubs to the club pros—^but he eventually joined. (Nicklaus, who once said that
      golf wasn’t more diverse because “Blacks have different muscles that react in
      different ways,” and who himself does golf business in Saudi Arabia, is still held
      up by Tour loyalists as the paragon of the gentleman golfer.) Today, the Tour has
      no owners, and the golfers vote on the board. It functions as a players’ collective,
      at least in theory.

     As in any quasi democracy, the complaining began almost immediately. The
     players’ beefs are legion: too many tournaments, too little freedom, restrictive
      media rights, purses too low, purses too evenly distributed, purses not evenly
      distributed enough, a hesitancy to take up N.F.T.s. At its heart, the grumbling
      concerns money and power. The stars want a bigger cut, and they probably
      deserve it. The rank and file, as a longtime golf writer told me, “always assume
     they’re getting fucked over.” (One agent pointed out, “I think we’re on a collision
     course for a union.”) Mickelson has claimed that the Tour is sitting on huge cash
     reserves that it should be giving out to players like him. (The Tour brings in about
     a billion and a half dollars a year, and roughly half gets disbursed as prizes and
     bonuses.) He has proposed cutting membership to just thirty golfers, and once
     spent an entire round pitching the golfer Brandel Chamblee on the idea. “He was
     totally oblivious to the fact that would eliminate my job,” Chamblee has said. The
     notion wasn’t new. In 1994, Greg Norman, then the world’s best player,
     attempted to start a parallel league, comprising the top players. The P.G.A. Tour,
     using Norman’s unpopularity, rallied to kill it; the players themselves, led by
     Palmer, refused to join. “I felt backstabbed,” Norman said recently.

     Liv offered an alternative for the stars, without whom the Tour would collapse.
     This was what Mickelson meant by leverage. “Someone was bound to try this,”
     Mcllroy told me. “The Tour has become quite complacent.” It has mostly stuck
     with the same format and hasn’t attracted a younger audience. Still, he went on.



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     “I’ve always thought that the changes could have been made from within, instead
     of, honestly, from Greg Norman having a thirty-year vendetta.”

     The Tour considers liv an existential threat. “They don’t want to coexist,” Davis
     Love III told me. But the Tour has taken solace in liv’s actual product, which it
     views as a joke. On the range, liv is compared to a member-guest at a mediocre
     country club.


     Trump National Golf Club Bedminster, in New Jersey, on the week in July

              that it hosted liv’s third tournament, experienced an outbreak of norovirus,
     according to a person familiar with the club. “It’s like food poisoning,” the person
     told me. “You throw up.” (A spokesperson for the club denied this account.) In
     Trump, LIV has found an enthusiastic partner. Trump loathes the P.G.A. of
     America, which had planned to hold the P.G.A. Championship, one of golf’s four
     majors, at Bedminster this year but cancelled after January 6th. It’s unclear if he
     knows that the P.G.A. of America and the P.G.A. Tour are separate entities. In
     any case, liv scheduled two of its eight tournaments at Trump properties,
     including its championship, and Trump has returned the favor. “I think liv has
     been a great thing for Saudi Arabia, for the image of Saudi Arabia,” Trump told
     the Wall StreetJournal. “The publicity they’ve gotten is worth billions.”


     Before the July tournament’s first round, with hands washed, I stopped by a
     protest against the event, staged by families of September 11th victims. I met
     with Dennis McGinley, whose brother, Danny, a father of five, was an equities
     trader in the south tower. “I was on the phone with my brother before the second
     plane hit,” McGinley said. “He was crying, he was praying for the people next
     door that were jumping out the window. I have been haunted by that for twenty-
     one years.” He experienced liv as a betrayal. “I just want accountability,” he said.

     I headed over to the course, which was lined with signs that said “don’t blink”
     and “golf but louder.” liv wants to appeal to a younger audience with a faster-

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      paced game. Golf being golf, the rounds stiU run five hours, so the league has
      curated the fan experience. Tournaments double as concerts; the Chainsmokers
      were scheduled to perform. In the “fan village,” I encountered a break-dancing
      troupe and a clown making balloon animals.

      I went looking for Ivana Trump s grave. The family had buried her on the grounds
      the previous week. It struck some people as strange. Who would want to spend
      eternity at her ex-husband s golf club? On Twitter, rumors circulated about how
      the property was, technically, a cemetery, which would eliminate the club s
      obligation to pay state property, income, and sales taxes. (NJ.com contacted tax
      experts who pointed out that this would be true for roughly .026 per cent of the
     grounds.) But the tax-shelter theory only fed other hypotheses about Trump and
      Liv that had made the rounds: that it was a money-laundering scheme, or that liv
     was a front for Trump to share nuclear secrets with the Saudis—Julius Rosenberg
     with a 9-iron. In Atlanta, one high-ranked golfer pulled me aside and said, “This
     thing runs much deeper. Who knows what s going to come out of Mar-a-Lago,
     but I wouldn’t be surprised if it’s all intertwined.” Not far from the driving range,
     where Trump and Rumayyan were hitting alone, I found Ivana’s headstone on a
     parched patch of grass. It looked out over the first tee box.




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     Afterward, I followed Mickelsons group with a sportswriter. He told me that
     reporters in the media tent had been playing a game of “What’s your number?”
     That is, what amount of money would compel them to quit their jobs to work for
     Liv? The consensus was somewhere between one and five million dollars.

     The crowds were sparse. Some holes had a dozen spectators; tickets were reselling
     for a dollar. One perk was that you could get right up next to the golfers. It has
     been pointed out that liv seems to appeal to a certain type of golfing personality
     —“a rogue’s gallery of assholes,” as the golf writer Elizabeth Nelson put it to me.
     There was Mickelson, and Bryson DeChambeau, who was so polarizing on the
     Tour that his colleague Brooks Koepka once promised free beer to fans who
     heckled him. Also: Koepka himself, who complained about liv at this summer’s
     U.S. Open, and then defected, joining DeChambeau, the day after the
     tournament. (When asked what had changed, he replied, “Just my opinion,
     man.”) The golfer Patrick Reed, who has never been popular—his fellow Georgia
     alum Kevin Kisner once told GolfDigest^ of Reed’s college teammates, “I don’t
     know that they’d piss on him if he was on fire”—joined, too. He subsequently
     sued several reporters for defamation. (One commentator mused, “liv needs a
     public investment fund to sportwash its association with Patrick Reed.”) An agent
     told me, “The Tour is milquetoast white guys. I think liv is going for the
     WWE. model.” (The WWE. is big in Saudi Arabia. “There’s a lot of pent-up
     male energy,” a frequent visitor to the kingdom explained.)

     The energy in Bedminster was of the unpent variety, liv, or Trump, or some
     combination of the two, had attracted an interesting crowd, part maga rally, part
     high-school lacrosse party. Behind the tenth green, I saw a guy watching porn on
     his phone. A middle-aged man wore a shirt depicting the Twin Towers wrapped
     in the flag and the words “20th anniversary, we will never forget.” I asked
     him if it was a protest. “You’re, like, the third guy to ask me that,” he said, looking
     perplexed. “I’m just wearing it so nobody forgets.”
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      AS the weekend went on, the crowds grew in size and rowdiness. The golf did

               not appear to be the primary concern. Someone had on a Trump hockey
      jersey adorned with fake bullet holes. Another guy wore a hat painted with the
      image of a vape pen and the words “come and take it.”


      At the final round, on Sunday, I started to follow the lead group but heard a roar
      from the sixteenth tee and detoured. The hole was a par-3. The tee sat in front of
      the clubhouse, where Trump was holding court on a patio; Marjorie Taylor
      Greene, Caitlyn Jenner, Eric, Donald, Jr. Tucker Carlson showed up to belly-
      laugh at Trump s jokes. Rumayyan and Sorour stopped by periodically. Several
      hundred spectators were there, just staring. “This is actually Christmas,” one said.
      “Pelosi for prison!” another yelled. Young women began tossing Budweisers into
      the crowd, prompting scuffles. Someone said, gleefully, “This would never happen
      on the RG.A. Tour!” The previous day. Trump had arranged for a microphone.
      “You wanna do a rally?” he said. “We will make America great again! They’re not
      doing a very good job of it right now!”

     Players were still coming through and teeing off, but the crowd hardly noticed.
     “Where the heck’s all the golf at?” someone yelled, to laughter. It was difflcult to
     teU if the indifference owed to Trump’s all-consuming presence or to the fact that
     the product was kind of rinky-dink. There was little of the tension that makes
     golf compelling. The team scores were hard to follow. The liv names and logos—
     Crushers, Smash, the anarchic and fun Fireballs—were, as my colleague David
     Owen put it. “created by an advisory group of fourth-grade boys, apparently.” liv’s
     chief operating officer, Atul Khosla, told me that the team names were largely
     provisional. The Australian pro Cameron Smith didn’t care for Punch Golf Club
     and planned an overhaul; Mickelson had ideas for the Hy Flyers. “We view
     ourselves very much as a startup,” Khosla said.

     The players appeared to delight in the Trumpiness. As each threesome arrived at
     the tee, they removed their hats and shook Trump’s hand. Broadly speaking,

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      affinity for Trump helps explain the Tour-Liv divide. Professional golfers vote
      Republican as reliably as any voting bloc; in 2004, GolfDigest                                                   thirty-four
     Tour golfers and found not one Kerry voter. But, as in the G.O.P., the Tour has
     its factions.

      Liv appeals to the golfers who once identified with the white working class, or to
     the merely resentment-prone. “Guys who grew up a little hardscrabble, didn’t
     have country clubs to play at, that fought tooth and nail to play on the Tour, they
     say. Look, I’m gonna get what I can get,” the manager Mac Earnhardt told me.
     The P.G.A. Tour, meanwhile, is for the elite, the club crowd that likes to think
     there are things more important than money. Of course, it’s easier to look down
     on cash grabs when your cash was grabbed for you generations ago. The sawier
     golfers also have images to protect; rarefied dignity sells Rolexes and lands
     Goldman Sachs sponsorships. Nelson, the golf writer, told me that, if liv
     embodied Trumpism, “the P.G.A. Tour is not Abraham Lincoln, it’s Mitch
     McConnell—the power structure that says. Well, I don’t disapprove of elitist
     destructive behavior, but this is bad for business.”

     Exceptions can be found on both sides, and, despite the exodus, the Tour is not
     wanting for Trump voters. “That’s what’s been so satisfying—seeing these guys
     who had no problem with Trump torching the rule of law when it was the
     Constitution, all up in arms now that Trump is doing the same to their golf tour,”
     one golf writer told me. I talked to a player (described by the writer as “to the
     right of Attila the Hun”) who said, of Trump, “It’s forced us into a very odd, odd
     spot. It’s hard to handle. ”

     The final holes in Bedminster lacked any drama. Henrik Stenson won the
     individual competition by two strokes. A few people clapped politely. Many failed
     to notice at all. “It’s so dope,” a young man in a pink polo and a maga hat
     remarked. “There are so many hot bitches here.” The Chainsmokers, citing an
     unspecified illness, pulled out of the post-round concert.


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      1      Irump knows from upstart sports leagues; in 1983, he paid millions for a
               team in the United States Football League, which collapsed two years later.
      Such efforts typically seem vain, even ridiculous, right up until they succeed. For
      every Continental Basketball Association, there is an American League. An
      established league is just a stunt that stuck around. The conventional wisdom is
      that Liv, as a sportswashing exercise, doesn’t care enough about golf to establish
      itself But what if this misconstrues what the Saudis want?


      David Schenker, a former Assistant Secretary of State for Near Eastern Affairs,
      was in charge of U.S. policy and diplomacy in the Persian Gulf region from 2019
      to 2021. He’s also a golf nut, with a fourteen handicap. “This is the intersection of
      my personal and professional lives!” he told me recently, of liv. Schenker believes
      that LIV is best understood in the context of Gulf geopolitics: the budding rivalry
      between the Saudis and the Emiratis.

     M.B.S.’s stated goal is to diversify the economy and wean it from oil, a program
     he calls Vision 2030. The RLE aims to spend forty billion dollars a year to bolster
     new Saudi industries—coffee production, electric cars, tech. One main objective
     is for Riyadh and Neom, a megacity being built on the Red Sea, to supplant Abu
     Dhabi and Dubai as the region’s de-facto capitals. Schenker said, “There was this
     picture, perhaps mistakenly, that M.B.Z.”—^Mohammed bin Zayed, the crown
     prince of Abu Dhabi—“was sort of a mentor to M.B.S. But Saudi Arabia
     increasingly sees itself as the leader.” M.B.S. has plans to double Riyadh’s
     population in the next decade. The kingdom will require companies that conduct
     business with state institutions to establish a regional headquarters in the country.
     The problem has been that a desert with no cinemas or alcohol, and with a
     religious police force that harasses women, is not very attractive.

     To appeal to the Dubai-inclined, M.B.S. has lifted a ban on cinemas, courted
     music festivals, and reined in the religious police. A ski resort is in the works.
     Schenker and others predict that M.B.S. will legalize drinking in some form

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     when he assumes the throne. The centerpiece of his plans is Neom, which he has
     described, privately, as Dubai but better. According to the Wall StreetJournal, he
     envisioned sand that glows in the dark and an artificial moon; canals for swim-
     commuting have been mentioned. The project, which is expected to consume half
     a trillion dollars, is a money pit; according to Bloomberg, Neoms C.E.O. displays
     a graphic that former employees called the “wall of shame,” showing department
     heads who failed to spend enough. But other developments, elsewhere on the Red
     Sea and around Riyadh, are farther along. Included in the plans is an amenity that
     the Saudis believe will draw wealthy Westerners: golf.

     To build a grass course in the desert, the first thing you need is sand. Saudi
     Arabia, which now has eight grass courses, is planning to build as many as sixteen
     more in the next four years. Each requires ten thousand or so dump-truck loads of
     sweet sand, which provides a better base layer than desert marl. Over the sand
     goes grass; the Saudis grow heat-tolerant strains in a giant nursery outside
     Riyadh. Saudi Arabia is one of the most water-scarce countries in the world, so
     golf officials plan to irrigate the courses using recycled wastewater.

     Liv serves as an advertising campaign for the new industry. “You cant deny that
     even the controversy has inserted the Saudi name into golf,” a Saudi consultant
     close to the government told me. “I think they’re getting exactly what they hoped
     for.” He said that he had scheduled his first-ever golf lesson for the next day: “I’m
     getting with the program, as they say.”

     Most people who study or work with the Saudi royal family are skeptical of the
     sportswashing motive. One person who has been in contact with M.B.S. said that
     the crown prince has given up on trying to fix his reputation in the West. “He’s
     not that naive,” the person said. After liv’s launch, Khashoggi and 9/11 have been
     talked about more, not less. Schenker believes that establishing Saudi Arabia as a
     golf destination is liv’s main aim. Joseph Westphal, the U.S. Ambassador to
     Saudi Arabia from 2014 to 2017, agrees. “This idea that this is sportswashing is
     completely ridiculous,” he told me. Of course, another way of looking at the
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       situation is that liv is engaging in sportswashing of a different kind, one that the
      Tour is familiar with. The goal isn’t to clean reputations so much as to use them
      for profit.




      A Saudi LIV executive I spoke to maintained that liv was a legitimate business.
      Few outside the company see profitability as likely. “There’s no way to underwrite
      making money on what they’re doing,” a person involved in the Premier Golf
      League talks told me. On the other hand, one persistent characteristic of RLE
     investments is abundant optimism. “These are people who have huge ambitions,”
     the person in contact with M.B.S. said. “The ambitions are really to make a
     shitload of money for the country. And also showing up the other Gulfies.” But,
     he allowed, “maybe their ambitions aren’t commensurate with reality.”


      Over Labor Day weekend, liv held its next tournament, the liv Golf

               Invitational Boston, at a club outside Worcester. Early in the week. I’d
     become friendly with a club member named Frank McNamara, a U.S. Attorney
     during the Reagan Administration and a father of twelve. “I’m pro-Liv and pro-

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     life!” he said. As Saturday’s round started, he walked over with a man he wanted
     to introduce.


     The man wore pink pants and aviators. “They called me a scary motherfucker!” he
     said, laughing. It was Majed A1 Sorour, the C.E.O. of the Saudi Golf Federation.
     He had a genial bearing, but seemed bothered by some of the press coverage.
     Unprompted, he said to me, “We don’t kill gays. I’ll just tell you that.” (As
     recently as 2020, an activist advocating for equal rights for L.G.B.T. people in the
     kingdom was arrested and tortured.)

     I walked with Sorour up the first fairway. Compared with Bedminster, the crowds
     were dense. Everyone seemed excited for the golf “At the end of the day, look at
     this,” Sorour said, in front of the green. On the range. I’d noticed an unusual
     esprit de corps among the players, almost a rakishness. “They feel like pirates in a
     way,” David Feherty, a golf analyst who jumped from NBC to liv, told me.
     (Feherty, perhaps, felt like one, too. When I asked him why he’d joined, he
     replied, “Money”) Maybe it was the shorts—on the eve of the tournament, the
     players had voted overwhelmingly to ditch golf’s long pants, which are required
     on the Tour. Sorour said he would’ve voted otherwise, but he didn’t object.
     “Democracy’s O.K.,” he said. “Sometimes!”

     Shortly before the tournament’s start, the golf world had reached a tentative
     stasis. The remaining P.G.A. Tour stars had held a players-only meeting in
     August, before a tournament in Delaware; it was organized by Woods and
     Mcllroy, who’d become convinced that the Tour’s executives weren’t acting
     forcefully enough to protect it from liv’s incursions. Woods wasn’t playing, but he
     flew in on his Gulfstream. “It tells you how much he despises Greg Norman,” the
     old hand told me.

     Twenty-three players attended the meeting, in a conference room at the Hotel
     duPont. They sat around a U-shaped table. According to one attendee, a handful

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      were mulling liv ojffers. In the course of three hours, the group went through a
      long slide presentation. Players asked questions, but, ultimately, everyone agreed
      to the plan advanced by Woods and Mcllroy. Afterward, they followed up with
      Monahan, the P.G.A. Tour commissioner, who quickly adopted it. The top
      golfers committed to playing in more tournaments. The Tour agreed to add four
      “elevated” events with purses of twenty million dollars; to guarantee annual
      earnings of half a million dollars; and to expand a bonus pool that awarded
      millions m.ore to the stars. All but one of the players who attended stuck v/ith the
      Tour. When I talked to Mcllroy after the meeting, I asked him if it had been
      difficult to spurn the potential for hundreds of millions from liv. (Before liv, he’d
      also declined to play in Saudi tournaments, citing moral objections.) “I’m gonna
      make a shit ton of money here, that’s the thing!” he said.

     In Massachusetts, after a round, Mickelson, who has mostly avoided interviews,
     told me with a smirk, “It’s great that they magically found a couple hundred
     million. That’s awesome.”

     The changes meant that the player exodus was likely to stabilize. Sorour and I
     retreated to a private suite beside the eighteenth green. He sat on a couch, his
     arms spread on the cushions, and said, “We have many players who want to come
     in now. But I need to protect my people.” He felt a sense of loyalty to the early
     adopters. The first ten had signed before liv had announced its launch. Another
     group had been ready to sign. Then Mickelson made his comments about the
     “scary motherfuckers,” and the league, suddenly, was on the brink of folding.
     Sorour told me, “I called the boss”—Rumayyan—“I said, ‘Everyone’s walking
     away. Do you want to do it, or not?’ ” Sorour told Rumayyan he had a plan: “Get
     the biggest mediocres, get the ten that we have, get you and I, and let’s go play for
     twenty-five million dollars.” Rumayyan decided to press ahead and announce the
     launch immediately.

     Sorour said the RLE had funding for liv through 2025. By then, he imagined,
     they would begin to cash out by selling off ownership in their twelve teams. The
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     franchise model is how liv plans to recoup its investment. Sorour envisions
     owners building home golf courses, like a stadium for a football team, liv had
     given certain players equity stakes in their teams. (Some of the reported
     compensation figures, such as the seven to eight hundred million allegedly offered
     to Woods, included equity and potential sponsorships. Of the Woods offer,
     Sorour said, “It s not straight-out money. I never offered him that money, not
     even close to that.”) There have been conflicting reports about the valuations that
     LIV puts on its teams, which consist of four players: a hundred million, half a
     billion, a billion. Sorour told me it would vary by team. Outside liv, the numbers
     are treated skeptically. Mcllroy told me, “People have to remember, golf is a niche
     sport. All you’re getting is four golfers. And I get it, some M.L.S. teams are worth
     seven hundred million dollars. But it’s all tied to the economics of the league, and
     right now that league doesn’t have any economics.”



     L        iv’s biggest problem is television rights. At the moment, it streams its events
          J on YouTube for free. Broadcasters and streamers have consistently turned
     down LIV. One TV executive, citing a “long, mutually beneficial relationship with
     the P.G.A. Tour,” told me, “Our strategy is we always want the best, liv doesn’t
     rise to that level.” Ed Desser, a former lead negotiator for the N.B.A.’s media
     deals, said that liv’s reputation would drive away broadcasters, and that its
     audience wasn’t large enough to make any significant revenue. Sorour told me, “If
     it was up to me. I’d make it in-house.” He seemed to envision a liv channel, like
     the N.RL. Network. According to a liv spokesperson, Jared Kushner, whose
     private-equity firm received two billion dollars from the RLE, has spoken with a
     broadcaster about liv. Late last month, the golf writer Eamon Lynch reported
     that, after internal lobbying by Lachlan Murdoch, Fox was planning to allow liv
     to buy airtime on the network, (liv issued a statement calling the reporting
     “incomplete and inaccurate.”)




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      Liv’s Other pressing issue is that its tournaments don’t yet earn golf ranking points,
      making it more difficult to qualify for the majors. There was speculation that the
      Masters might ban liv players. “For now, the majors are siding with the Tour, and
      I don’t know why,” Sorour said. “If the majors decide not to have our players play?
      I will celebrate. I will create my own majors for my players.” He went on,
      “Honestly, I think all the tours are being run by guys who don’t understand
      business.”

      Sorour got up and went to a railing overlooking the eighteenth green. It was
      difficult to deny that the weekend of golf had become exciting. Even Mickelson,
     who’d played miserably since joining liv, walked up to the green shooting under
     par. “Finally,” Sorour said. “Maybe he needed shorts all along.” The players
      smiled and chatted on the course. As Harold Varner III, the latest liv addition,
     had walked past the suite, Sorour leaned over the railing and shouted jokes. If
     nothing else, liv had created a counterpoint to the Tour’s American-individualist
     mythos—a sort of Saudi dream. For the players, it looked like a weekend outing
     among buddies.

     The next day, during the final round, the individual competition went to a three-
     person playoff—the first in liv history. The gallery around the green was twenty
     people deep. Dustin Johnson, who’d already won more than five million dollars in
     his first three tournaments, smoked a long eagle putt way too hard, but it banked
     off the back of the cup and in, for the victory. The first reaction of his defeated
     opponents was to burst out in laughter. Everyone was rich, happy, and having
     fun. ♦


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